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                                                                           FILED
                        UNITED STATES DISTRICT COURT                 March 08, 2021
                       EASTERN DISTRICT OF CALIFORNIA               CLERK, US DISTRICT COURT
                                                                      EASTERN DISTRICT OF
                                                                           CALIFORNIA


UNITED STATES OF AMERICA,                    Case No. 2:21-mj-00040-JDP

                 Plaintiff,

      v.                                             ORDER FOR RELEASE OF
                                                      PERSON IN CUSTODY
ANDREW CALHOUN,

                 Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release ANDREW CALHOUN ,

Case No. 2:21-mj-00040-JDP Charge 18 U.S.C. § 2252A(a)(2)(A) and 2256(8)(A)

and 2, from custody for the following reasons:

                 X     Release on Personal Recognizance

                       Bail Posted in the Sum of $

                              Unsecured Appearance Bond $

                              Appearance Bond with 10% Deposit

                              Appearance Bond with Surety

                              Corporate Surety Bail Bond

                              (Other): The Defendant shall comply with the Special
                              Conditions of Release dated March 8, 2021. The

                          X   Defendant shall also appear in the Eastern District of

                              Tennessee on March 25, 2021 at 11:00 a.m. before

                              Magistrate Judge Christopher H. Steger

      Issued at Sacramento, California on M
                                          March
                                           arch 08, 2021 at 3:28 p.m.

                                    By:

                                          Ma
                                          M  gistrate Judge Jeremy D. Peterso
                                          Magistrate                  Peterson
